        Case 1:14-ml-02570-RLY-TAB Document 19834 Filed 09/02/21 Page 1 of 1 PageID #:
                                         123252
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Southern District of Indiana


                      YVETTE BROWN                                   )
                             Plaintiff                               )
                                v.                                   )     Case No. 1:14-ml-2570-RLY-TAB
              COOK INCORPORATED, et al.                              )
                            Defendant                                ) This document relates to case no. 1:21-cv-06570-RLY-TAB

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Yvette Brown                                                                                                           .


Date:          09/02/2021                                                                      /s/Basil E. Adham
                                                                                               Attorney’s signature


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